               Case 3:18-cv-06371-LB Document 175 Filed 05/01/23 Page 1 of 2




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                                      UNITED STATES DISTRICT COURT
6                                    NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
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       SECURITIES AND EXCHANGE
9      COMMISSION,
                                                         Case No. 3:18-cv-06371-LB
10                     Plaintiff,

11             vs.                                       PLAINTIFF SECURITIES AND
12                                                       EXCHANGE COMMISSION’S NOTICE OF
       JEAN DANHONG CHEN, TONY                           FILING DEFENDANTS’ CONSENTS AND
       JIANYUN YE, KAI HAO ROBINSON,                     PROPOSED FINAL JUDGMENTS
13     KUANSHENG CHEN, LAW OFFICES OF
14     JEAN D. CHEN, A PROFESSIONAL
       CORPORATION, TREE LINED
15     HOLDINGS, LLC, and GOLDEN STATE
       REGIONAL CENTER, LLC,
16
                       Defendants,
17
       TIANQI LIU AND LENG HAN, IN THEIR
18     CAPACITY AS TRUSTEES OF THE
19     CHENYE IRREVOCABLE GIFT TRUST,

20                     Relief Defendants.

21
22          PLEASE TAKE NOTICE that Plaintiff Securities and Exchange Commission (“SEC”), is
23   filing contemporaneously with this Notice an executed Consent of Defendant Kai Hao Robinson
24   (“Robinson”) and an executed Consent of Defendant Golden State Regional Center, LLC (“Golden
25   State”), and a Proposed Final Judgment as to both Defendants. The SEC respectfully submits that
26   entry of the Proposed Final Judgment, which would resolve this matter entirely as to Robinson and
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       SEC V. JEAN D. CHEN, ET AL.
                                                         1                NOTICE OF FILING CONSENT JUDGMENTS
       CASE NO. 3:18-CV-06371
               Case 3:18-cv-06371-LB Document 175 Filed 05/01/23 Page 2 of 2




1    Golden State, is fair, adequate, and in the public interest. Accordingly, the SEC respectfully

2    requests that the Court enter the Proposed Final Judgment.

3      Dated: May 1, 2023                                  Respectfully submitted,
4                                                          /s/ James E. Smith
                                                           James Smith
5                                                          Ashley Dolan Barrachina
6                                                          Sarah M. Hall
                                                           Attorney for Plaintiff
7                                                          Securities and Exchange Commission

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       SEC V. JEAN D. CHEN, ET AL.
                                                          2                  NOTICE OF FILING CONSENT JUDGMENTS
       CASE NO. 3:18-CV-06371
